        Case 1:19-cv-01453-VJW Document 22 Filed 09/27/19 Page 1 of 1




      In the United States Court of Federal Claims
                                    No. 19-1453C
                             (Filed September 27, 2019)
                             NOT FOR PUBLICATION


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STARSIDE SECURITY &               *
INVESTIGATION, INC.,              *
                                  *
                 Plaintiff,       *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *

                                      ORDER

       For the reasons stated on the record at the conclusion of today’s hearing, the
Court has found that the Government Accountability Office protest filed by the
plaintiff concerning the General Services Administration’s Call Order ID07190048
was filed within 10 days of contract award, and was therefore entitled to the
automatic stay under 31 U.S.C. § 3553(d)(3)(A)–(d)(4), due to the application of
equitable tolling. See Irwin v. Department of Veterans Affairs, 498 U.S. 89, 96
(1990). Accordingly, a stay of performance of the contract awarded under Call
Order ID07190048 is in effect. An opinion explaining this decision will be
forthcoming.

IT IS SO ORDERED.

                                       s/ Victor J. Wolski
                                       VICTOR J. WOLSKI
                                       Senior Judge
